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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

   IN RE:

   MICHELLE ADRIENNE LALIBERTE                  :       CHAPTER 13
                                                :
                   Debtor.                      :       CASE NO.: 17-68951-WLH
                                                :


       MOTION FOR EXPEDITED HEARING ON MOTION TO INCUR DEBT


            COMES NOW Debtor, MICHELLE ADRIENNE LALIBERTE, in the above-
   styled case by and through undersigned Counsel and moves this Honorable Court for an
   Order shortening the time for the hearing on the Motion to Incur Debt ( the “Motion”)
   (Doc. No. 47). As grounds for this Motion, the Debtor respectfully shows the Court the
   following:
                                                1.

            Debtor filed a voluntary petition for relief under Chapter 13 of Title 11 of the

   United States Code on October 31, 2017 and Debtor’s Chapter 13 Plan was confirmed by

   this Court on March 14, 2018.

                                                2.

            As stated in the Motion, Debtor seeks permission from the Court to incur

   mortgage debt so as to acquire a residence. Debtor is under contract with a disinterested

   Seller for a closing scheduled for August 18, 2020, and has a loan commitment that

   complies with the terms of the Motion

                                                3.

            The projected monthly payment on the mortgage after the closing will be

   $1,132.70, which is less than Debtor now pays for her monthly rent. This Court has
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   scheduled the hearing on the Motion for September 16, 2020. The parties will all benefit

   from a prompt, expedited ruling from the Court to allow the new debt and purchase of the

   new home for Debtor.

                                               4.

          The Debtor respectfully requests an expedited hearing on the Motion to Incur

   Debt so that she may move forward with the closing on the home and incur the mortgage.




          WHEREFORE, Debtors pray:
          (a) That this Honorable Court will consider this Motion;
          (b) That this Honorable Court will grant the Debtor’s request and set an expedited
              hearing on Motion; and
          (c) That this Honorable Court grant such other and further relief as it deems just
              and proper.



   Respectfully submitted this 12th day of August, 2020


   /s/_________________
   Howard Slomka
   Attorney for Debtors
   Georgia Bar No. 652875
   Slipakoff & Slomka, PC
   3350 Riverwood Parkway
   Suite 2100
   Atlanta, GA 30339
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   (404) 800-4001
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   IN RE:

   MICHELLE ADRIENNE LALIBERTE                  :       CHAPTER 13
                                                :
                  Debtor.                       :       CASE NO.: 17-68951-WLH
                                                :

                               CERTIFICATE OF SERVICE

          I hereby certify that I am more than 18 years of age and that I have this day served
   a copy of the within Motion For Expedited Hearing On Debtor’s Motion to Incur Debt
   upon the following by ECF.


   Nancy J. Whaley (served via ECF)
   Standing Ch. 13 Trustee
   303 Peachtree Center Avenue
   Suite 120, Suntrust Garden Plaza
   Atlanta, GA 30303

   Michelle Adrienne LaLiberte
   1621 Akers Ridge Drive SE
   Atlanta, GA 30339


   SEE ATTACHED FOR ADDITIONAL CREDITORS

   Dated this 12th day of August, 2020

                                                        Respectfully Submitted,

                                                        ______/s/________
                                                        Howard Slomka
                                                        Georgia Bar # 652875
                                                        Slipakoff and Slomka, P.C.
                                                        Attorney for Debtor
                                                        3350 Riverwood Pkwy
                                                        Suite 2100
                                                        Atlanta, GA 30339
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